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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        IN RE
                                   7                                                         Case No. 13-cv-03072-EMC
                                   8    MYFORD TOUCH CONSUMER
                                        LITIGATION
                                                                                             ORDER GRANTING IN PART AND
                                   9                                                         DENYING IN PART FORD’S
                                                                                             ADMINISTRATIVE MOTIONS TO
                                  10                                                         REFILE DOCUMENTS UNDER SEAL
                                  11                                                         Docket Nos. 405-406
                                  12
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                                  13          The Court ordered Ford to re-file its recent sealing motions to accord with the criteria and

                                  14   reasoning expressed in the Court’s March 2, 2018 sealing order. See Docket No. 400. Ford has

                                  15   now narrowed its sealing requests significantly. See Docket Nos. 405, 406. The Court rules as

                                  16   follows.

                                  17          Paragraphs 6 and 12-13 of the Declaration of Kenneth Williams may, at this time, remain

                                  18   under seal. They describe the internal hardware architecture and design of MFT-equipped

                                  19   vehicles and certain pre-release testing processes. At this time, these do not appear to be more

                                  20   than tangentially related to the merits as Plaintiffs do not appear to rely on these aspects of the

                                  21   vehicle design to establish their claims, nor does Ford appear to rely on them to defend itself. If

                                  22   this evidence later assumes greater relevance to the merits, the Court’s view on sealing may

                                  23   change. The Court GRANTS the request to seal these portions.

                                  24          Paragraph 33 of the Williams Declaration essentially states that Ford spoke with its

                                  25   customers/dealers and analyzed warranty claims after release of MFT to track quality issues. This

                                  26   is not commercially sensitive information. The paragraph does not reveal what Ford gleaned from

                                  27   that analysis or how it pursued the analysis. Ford does not claim the name of the databases

                                  28   tracking that information are commercially sensitive or confidential. The Court DENIES the
                                   1   request to seal.

                                   2           Exhibit 6 to Ford’s decertification motion is a 2013 PowerPoint presentation about Ford’s

                                   3   quality improvement plan for MFT. The presentation consists exclusively of graphs documenting

                                   4   the number of “things gone wrong” and customer satisfaction rates with MFT-equipped vehicles

                                   5   as well as those of Ford’s competitors. The graphs reflect a mix of actual, projected, and planned

                                   6   rates for each issue over time, from 2011 to no later than 2016. Ford argues that it uses a

                                   7   “confidential quality improvement assessment methodology” to analyze its products and that “the

                                   8   specific factors that Ford uses in assessing quality improvement” are confidential and

                                   9   commercially sensitive. Eikey Decl. ¶ 11. Ford acknowledges that this PowerPoint presentation,

                                  10   however, presents only the results of such methodology but not the methodology or relevant

                                  11   factors themselves; nevertheless, Ford argues that “taken as a whole, the information . . . gives

                                  12   sufficient insight into the factors that Ford uses when assessing quality improvement, the timelines
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                                  13   on which improvement is gauged, the mix of competitive information considered in judging

                                  14   quality improvement, and related issues.” Id. That claim is not persuasive. The data presented is

                                  15   conclusory, and the only two factors referenced are obvious metrics of problem and satisfaction

                                  16   rates. Moreover, the presentation was prepared in 2013 and did not make projections beyond

                                  17   2016; there is no credible risk of competitive harm in 2018 forward. Finally, a key merits issue is

                                  18   whether Ford resolved the MFT defect at any time during the class period, an issue to which these

                                  19   charts appear to relate. The Court therefore DENIES Ford’s motion to seal Exhibit 6.

                                  20           This order disposes of Docket Nos. 405 and 406.

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                                  22           IT IS SO ORDERED.

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                                  24   Dated: March 23, 2018

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                                                                                         EDWARD M. CHEN
                                  27                                                     United States District Judge
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